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                   14   Attorneys for Plaintiffs
                        WHATSAPP INC. and FACEBOOK, INC.
                   15

                   16                                 UNITED STATES DISTRICT COURT

                   17                           NORTHERN DISTRICT OF CALIFORNIA

                   18

                   19 WHATSAPP INC., a Delaware corporation,         Case No. 4:19-cv-07123-PJH
                      and FACEBOOK, INC., a Delaware
                   20 corporation,

                   21                                                PROOF OF SERVICE (MAY 8, 2020)
                                        Plaintiffs,
                   22
                              v.
                   23
                        NSO GROUP TECHNOLOGIES LIMITED
                   24   and Q CYBER TECHNOLOGIES LIMITED,

                   25                   Defendants.

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COOLEY LLP
ATTORNEYS AT LAW                                                                           5/8/2020 PROOF OF SERVICE
 SAN FRANCISCO
                                                                                         CASE NO. 4:19-CV-07123-PJH
                          Case 4:19-cv-07123-PJH Document 70 Filed 05/08/20 Page 2 of 3



                    1                                        PROOF OF SERVICE

                    2          I am a citizen of the United States and a resident of Virginia. My business address is Cooley

                    3   LLP, 1299 Pennsylvania Avenue, Suite 700, Washington D.C. 20004-2400. On May 8, 2020, I

                    4   served the documents described below in the manner described below:

                    5          1. [SEALED] WhatsApp’s Motion to Disqualify Defense Counsel Based on Prior

                    6             Representation in a Sealed Matter;

                    7          2. [SEALED] Declaration of Jacob Sommer in Support of WhatsApp’s Motion to

                    8             Disqualify Defense Counsel Based on Prior Representation in a Sealed Matter;

                    9          3. [SEALED] Declaration of Travis LeBlanc in Support of WhatsApp’s Motion to

                   10             Disqualify Defense Counsel Based on Prior Representation in a Sealed Matter;

                   11          4. [SEALED] Exhibit A to the Declaration of Travis LeBlanc in Support of WhatsApp’s

                   12             Motion to Disqualify Defense Counsel Based on Prior Representation in a Sealed

                   13             Matter;

                   14          5. [SEALED] Exhibit B to the Declaration of Travis LeBlanc in Support of WhatsApp’s

                   15             Motion to Disqualify Defense Counsel Based on Prior Representation in a Sealed

                   16             Matter;

                   17          6. Declaration of Nitin Gupta in Support of WhatsApp’s Motion to Disqualify Defense

                   18             Counsel Based on Prior Representation in a Sealed Matter;

                   19          7. Proposed Order Granting WhatsApp’s Motion to Disqualify Defense Counsel Based on

                   20             Prior Representation in a Sealed Matter;

                   21          8. [SEALED] WhatsApp’s Request for Judicial Notice;

                   22          9. [SEALED] Proposed Order Granting WhatsApp’s Request for Judicial Notice;

                   23          10. Plaintiffs’ Ex Parte Motion for Protective Order; and

                   24          11. Proposed Limited Protective Order;

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                                      (BY ELECTRONIC MAIL) I am personally and readily familiar with the business
                   26               practice of Cooley LLP for the preparation and processing of documents in
                                      portable document format (PDF) for e-mailing, and I caused said documents to be
                   27                 prepared in PDF and then served by electronic mail to the parties listed below.

                   28
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ATTORNEYS AT LAW                                                                                  5/8/2020 PROOF OF SERVICE
 SAN FRANCISCO                                                          -2-
                                                                                                CASE NO. 4:19-CV-07123-PJH
                           Case 4:19-cv-07123-PJH Document 70 Filed 05/08/20 Page 3 of 3



                    1   on the following:

                    2    M. Robert Thornton, Esq.
                         General Counsel
                    3    King & Spalding LLP
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                         Telephone:    +1 (404) 572-4600
                    6    E-mail:       bthornton@kslaw.com
                    7
                                Executed on May 8, 2020, at Falls Church, Virginia.
                    8

                    9

                   10                                                       /s/       Daniel J. Grooms
                                                                                      Daniel J. Grooms
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                        225617556
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 SAN FRANCISCO                                                        -3-
                                                                                                CASE NO. 4:19-CV-07123-PJH
